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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 7

LEADING EDGE LOGISTICS LLC., et                            Case No. 14-11260(MFW)
al.,l
                                                           Jointly Administered
                            Debtors.
                                                           Re: Docket Nos. 504, 506

                                                         Objection Deadline: February 4, 2019 at 4:00 p.m.(ET)

                       FEE NOTICE PURSUANT TO
        ORDER GRANTING APPLICATION OF ALFRED T. GIULIANO,
 CHAPTER 7 TRUSTEE,FOR AN ORDER (I)PURSUANT TO BANKRUPTCY CODE
     SECTIONS 327(A) AND 328(A), BANKRUPTCY RULES 2014(A) AND 2016,
     AND LOCAL RULE 2014-1 FOR AUTHORITY TO EMPLOY AND RETAIN
 JNR ADJUSTMENT COII~PANY,INC. AS COLLEC'I'IOl~ AGENT,NUNC Y120 TiJNC
   TO AUGUST 7,2018; AND (II) GRANTING ~'VAIVER OF LOCAL RULE 201b-2

To:      (a)the Office of the United States Trustee for the District of Delaware; and (b)those
         persons who have requested notice pursuant to Bankruptcy Rule 2002.

                 PLEASC TAKE NOTICE that on September 7, 2018, Alfred T. Giuliano,

chapter 7 trustee (the "Trustee"), to the estates of the above-captioned debtors, filed the

Application ofAlfNed T. Giuliano, Chapter 7 TNustee,for an Order (I) PuNsuant to Bankruptcy

Code Sections 327(a) and 328(a), Bankruptcy Rules 2014(a) and 2016, and Local Rule 2014-1

for Authority to Employ and Retain JNR Adjustment Company, Inc. as Collection Agent, Nunc

PNo Tunc to August 7, 2018; and (II) Granting Waiver ofLocal Rule 2016-2(the "Application")

[Docket No. 504], with the United States Bankruptcy Court for the District of Delaware, 824

Market Street, Wilmington, Delaware 19801 (the "Court"). On September 25, 2018, the Court

entered the Order Granting Application ofAlfNed T. Giuliano, Chapter 7 Trustee,fog an O~de~

1The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Leading
Edge Logistics LLC (2293); Alliance Traffic Group, LLC (0161); LEL Enterprises LLC(1052); and LEL Caribe,
LLC (0104). The Debtors' address is 2098 West Chester Pike, Broomall, PA 119008.




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(I) Pursuant to Bankruptcy Code Sections 327(a) and 328(b), BankNuptcy Rules 2014(a) and

2016, and Local Rule 2014-1for Authority to Employ and Retain JNR Adjustment Company, Inc.

as Collection Agent, Nzsnc PNo Tunc to August 7, 2018; and (II) GNanting Waiver ofLocal Rule

2016-2(the "Order")[Docket No. 506] granting the Application.

                 PLEASE TAKE FURTHER NOTICE that the Trustee, hereby files this fee

notice ("Fee Notice") that JNR Adjustment Company, Inc.("JNR") has recovered the amounts

below and is entitled to the contin~encv fee recovery listed below:

Adv.       Defendant:         Default         Settlement    Commission:         JNR Recovery
Pro.                          Judgment        Amount:                           Fee:
No.•                          Amount:
16-        ATF Trucking,                      $10,000.00    20%                 $2,000.00
50761      LLC                $36,176.81
16-        Loxia              $33,045.99      $11,020.64    20%                 $2,204.13
50927
16-        Moran Trucking,    $13,800.00      $13,800.00    25%                 $3,450.00
50962      Inc.


                 PLEASE TAKE FURTHER 1~OTICE that any objection or response to the Fee

Notice must be made in writing and be filed with the Bankruptcy Court, on or before

February 4,2019 at 4:00 p.in, pi•e~~ailing Eastern time.

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon:(i) counsel to the Trustee: Pachulski Stang Ziehl

& Jones LLP,919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-

8705 (Courier 19801), Attn: Bradford J. Sandler (email: bsandler@pszjlaw.com)(fax: 302-652-

4400); and (ii) the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844

North King Street, Suite 2207, Lock Box 35, Wilmington, DE 19801, Attn: Benjamin A.

Hackman (email: benjamin.a.hackman@usdoj.gov)(fax: 302-573-6497).




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                PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS FEE NOTICE,THE TRUSTEE MAY PAY JNR ITS FEE PER

THE APPLICATION AND ORDER.

Dated: January 25, 2019            PACHULSKI STANG ZIEHL &JONES LLP


                                   /s/Peter J. Keane
                                   Bradford J. Sandler(DE Bar No. 4142)
                                   Michael R. Seidl(DE Bar No. 3889)
                                   Jason S. Pomerantz(CA Bar No: 157216).
                                   Peter J. Keane(DE Bar No. 5503)
                                   919 N. Market Street, 17th Floor
                                   Wilmington, DE 19801
                                   Telephone: (302)652-4100
                                   Facsimile: (302)652-4400
                                   Email:      bsandler@pszjlaw.com
                                               mseidl@pszjlaw.com
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                                               pkeane@pszjlaw.com
                                   Counsel to Alfred T. Giuliano, Chapter 7 Trustee




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